   Case 1:23-cv-00042-HCN Document 27 Filed 08/17/23 PageID.182 Page 1 of 2
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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                        August 17, 2023


  Raland J. Brunson
  4287 South Harrison Boulevard, Apartment 132
  Ogden, UT 84403

  RE:       23-4108, Brunson v. Sotomayor, et al
            Dist/Ag docket: 1:23-CV-00042-HCN

 Dear Appellant:

 The court has received and docketed your appeal. Please note your case number above.

 Pro se parties must complete and file an entry of appearance form within thirty days of
 the date of this letter.

 Attorneys must complete and file an entry of appearance and certificate of interested
 parties within 14 days of the date of this letter. See 10th Cir. R. 46.1(A) and (D). An
 attorney who fails to enter an appearance within that time frame will be removed from
 the service list for this case, and there may be other ramifications under the rules. If an
 appellee does not wish to participate in the appeal, a notice of non-participation should be
 filed via ECF as soon as possible. The notice should also indicate whether counsel wishes
 to continue receiving notice or service of orders issued in the case.

 Please note that a separate fee is due for initiating an appeal to the circuit court. You are
 required to pay the $505.00 fee ($5.00 filing fee and $500.00 docket fee) to the district
 clerk or file an application for leave to proceed on appeal without prepayment of fees
 with the district court within 30 days of the date of this letter, or this appeal may be
 dismissed without further notice. See Fed. R. App. P. 3(e) and 10th Cir. R. 3.3(B).

 The court will forward all forms, letters and orders to you via US Mail. If you wish to
 change the method of service from US Mail to email, you must make that request in
 writing by completing the enclosed "Consent To Electronic Service" form and returning
 it to this office. Requests to change the method of service must come via regular US Mail
 and may not be emailed. Please note that by providing the court with a valid email
 address you consent to receive all orders/letters issued by the court via "notices of docket
 activity" (NDAs). Paper copies will not be mailed to you. When you receive an email
 "NDA" a link to the order/letter that has been issued will appear in the notice; you are
 entitled to one free "look" at the document and should download it at that time. The
   Case 1:23-cv-00042-HCN Document 27 Filed 08/17/23 PageID.183 Page 2 of 2
Appellate Case: 23-4108 Document: 010110904814 Date Filed: 08/17/2023 Page: 2
 document will appear as a PDF so you must have the ability to view PDFs. Finally, if
 your email address changes you must notify the court immediately. It is your
 responsibility to maintain your email address.

 You will receive further instructions regarding prosecution of this appeal from the court
 within the next few weeks.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Amanda A. Berndt




  CMW/mlb
